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 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,           )                  No. CR- 06-0316 MHP
13                                       )
           Plaintiff,                    )
14                                       )
        v.                               )
15                                       )                  [PROPOSED] SPEEDY TRIAL ORDER
     STANLEY JAMES PRYOR, JR., et al.,   )
16                                       )
                   Defendants,           )
17   ___________________________________ )
18      GOOD CAUSE APPEARING the Court finds this case complex under 18 U.S.C.
19   §3161(h)(8)(A) and B(i)(ii). The case involves approximately six overlapping months of
20   electronic surveillance on seven separate lines covering four different subject’s cellular
21   telephones. Many of the conversations were intercepted using the “Push to Talk” feature on the
22   Nextel phone, increasing the number of conversations counsel will have to review. A portion of
23   the conversations are in Spanish and a portion are in Tongan. The indictment contains
24   allegations against nineteen defendants covering criminal activity over approximately one year in
25   time. Over two thousand pages of discovery have been made available and compact discs
26   containing hundreds of hours of conversations have been provided. The Court finds that the case
27   is so unusual and complex, due to the number of defendants and the nature of the prosecution
28   that it is unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself

     SPEEDY TRIAL ORDER                                     1
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 1   within the time limits established under Title 18 U.S.C. § 3161(h)(8)(A) and (B)(ii)and (iv).
 2      In addition, time is excluded for the following reasons: because defendants are being
 3   transported from the districts of Hawaii, time is excluded under Title 18 U.S.C. § 3161 (h)(1)(H);
 4   because there are pending motions to detain the defendants, time is also excluded pursuant to 18
 5   U.S.C. § 3161 (h)(1)(F); and because at least one of the defendants has stated that they intend to
 6   hire private counsel and needs time to arrange representation, time is also excluded under 18
 7   U.S.C. § 3161 (h)(8)(B)(iv).
 8      The court finds specifically that the ends of justice are best served through the continuance
 9   and the need for effective preparation and other reasons cited herein outweigh the best interest of
10   the defendants and the public in a speedy trial.
11      Accordingly, IT IS HEREBY ORDERED that the time period between May 30, 2006 and
12   July 17, 2006 is excluded from calculations pursuant to 18 U.S.C. §3161(h)(8)(A) and B(i),(ii),
13   and iv; § 3161 (h)(1)(H);18 U.S.C. § 3161 (h)(1)(F); and 18 U.S.C. § 3161 (h)(8)(B)(iv).
14   DATED: June 29, 2006
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15             June 30, 2006
                                                             TES DHALL PATEL
                                                   _______________________________
                                                   HON. MARILYN           TC
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16                                                 UNITED TSTATES DISTRICT COURT JUDGE
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     SPEEDY TRIAL ORDER                                      2
